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      1                IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
      2                                MIAMI
                            CASE NO. 16-CR-20345-KMM-1
      3 _____________________________________________________________

      4      UNITED STATES OF AMERICA,
                              Plaintiff
      5             vs.                             November 14, 2016

      6      JEFFREY JASON COOPER, A.K.A.,
             DR. JANARDANA DASA, A.K.A.,
      7      JANARDANA, A.K.A., JAY,
                              Defendant.
      8
          _____________________________________________________________
      9                GOVERNMENT'S OPENING STATEMENT (EXCERPT)

     10                  BEFORE THE HONORABLE K. MICHAEL MOORE,

     11                   UNITED STATES DISTRICT COURT JUDGE
          _____________________________________________________________
     12
                                   A P P E A R A N C E S
     13
            FOR THE PLAINTIFF:       SETH M. SCHLESSINGER, AUSA
     14     UNITED STATES OF         MATTHEW T. GRADY, AUSA
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     25                              MANUEL FERNANDO HERRERA
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            Also present:
      9             HUY NGUYEN, HSI

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         1                         P R O C E E D I N G S

         2       (The following proceedings were held in open court.)

         3

         4 *     *      *     *      *      *     *      *      *      *      *

         5      (Thereupon, proceedings were held but not transcribed.)

         6 *     *      *     *      *      *     *      *      *      *      *

         7

         8                           OPENING STATEMENT

         9           MR. GRADY:   Good morning, ladies and gentlemen.        We're

10:40   10 here today because this defendant is a two-faced fraud, phony,

        11 and sex trafficker who hatched a scheme --

        12           MR. CARIGLIO:   Objection.

        13           THE COURT:   Confine yourself to the evidence to be

        14 presented.

10:40   15           MR. GRADY:   -- who hatched a scheme to be appear to be

        16 a legitimate businessman in order to trick people both here in

        17 the U.S. and half a world away in the country of Kazakhstan.

        18 On the one hand, the defendant ran a prostitution business both

        19 here in Miami and in L.A.     As part of his prostitution

10:40   20 business, he had women provide erotic massages.       Those are

        21 massages where, at the end, the women manually masturbate the

        22 male clients until ejaculation.      But on the other hand, the

        23 defendant also claimed to be Dr. Janardana Dasa, the owner and

        24 operator of a local yoga business here in South Florida.          It

10:41   25 was through this persona that the defendant extended false
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         1 promises of legitimate jobs to college students in Kazakhstan

         2 claiming that he would employ them as clerical workers for his

         3 yoga studio.

         4          Two such college students,           "A" and          "Z",

10:41    5 traveled from Kazakhstan to Miami under what is called the

         6 Summer Work Travel program with the impression that they would

         7 work as receptionists at the defendant's yoga studio.        But when

         8 they arrived it Miami, they learned the truth.       They learned

         9 that the defendant didn't intend for them to work performing

10:41   10 clerical duties, he intended for them to perform erotic

        11 massages for his male prostitution clients.

        12          During this trial you're first going to learn about

        13 this Summer Work Travel program.     You'll learn that it provides

        14 a temporary opportunity for foreign college students to enter

10:42   15 with -- in the U.S. to work during their summer break.        And at

        16 the end of the summer break, they would return to their home

        17 countries and return to their studies.      The purpose of this

        18 program is to promote goodwill and mutual understanding

        19 throughout the world as, hopefully, these students will have a

10:42   20 good experience with their time in the U.S.      And after being

        21 exposed to the U.S. culture, tell about their great experience

        22 back to their countrymen back home.     And these students who are

        23 attending college, hopefully they're future leaders back in

        24 their home country.

10:42   25          It also benefits U.S. employers because they received
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         1 seasonal employment workers to help with the busy summer

         2 season.   This program is run by the State Department because

         3 the students received a J-1 visa to lawfully work here during

         4 the summertime.     But it's really managed by private entities

10:43    5 called sponsors, because thousands of college students come

         6 from foreign countries every summer.     It's up to these sponsors

         7 to vet that employment and ensure that the students will

         8 receive minimum wage, for example, and also ensure that the

         9 students are not placed in any prohibited categories of

10:43   10 employment such as the adult entertainment industry, such as

        11 performing prostitution acts.

        12           Now, you'll also learn in this trial how it came to be

        13 that this defendant became a host employer for multiple college

        14 students from Kazakhstan.    You'll learn that actually came

10:43   15 about in the summer of 2010 when the defendant met two summer

        16 work program college students from Kazakhstan; one of whom was

        17 Diyana Ishmetova.    Diyana was actually participating as a

        18 student in Orlando in the summer of 2010, and she visited Miami

        19 with a friend before returning home to Kazakhstan that fall.

10:44   20 While she was here in Miami, she was at a cafe and had a chance

        21 encounter with the defendant.    They spoke a little bit.      And

        22 eventually they became friends on Facebook.

        23           By the spring of 2011.    The defendant learned that

        24 Diyana was a Summer Work Travel coordinator back in Kazakhstan,

10:44   25 and the defendant suggested that Diyana send him students to
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         1 work at his yoga health centers.     You're going to know this

         2 because you're going to see all of the Facebook exchanges

         3 between the defendant and Diyana.     For example, you'll see some

         4 of the lies in these Facebook exchanges.      The defendant telling

10:44    5 Diyana the workers will perform clerical duties such as

         6 answering phones and setting up appointments.

         7           Originally, the defendant was going to host four

         8 college students from Kazakhstan.     Later on, he also agreed to

         9 host two additional students, who were           "A" and

10:45   10 "Z".   Most importantly, at no point in time did the defendant

        11 tell Diyana, actually, the students are going to be performing

        12 erotic massages for me.     Not only did the defendant lie to

        13 Diyana, but he also made similar lies to a company called

        14 Center for Cultural Interchange, or CCI for short.       CCI was one

10:45   15 of these Summer Work Travel sponsors.      They're a middleman to

        16 make sure that there's no problems between the students and

        17 their U.S. host employer.

        18           The defendant submitted job offers to CCI indicating

        19 that he ran a yoga business and that these Kazakhstan college

10:45   20 students were going to be receptionists at his yoga studio.

        21 They would be performing clerical duties.      They would be

        22 performing clerical duties from an address that was actually

        23 his apartment address in North Bay Village.      The apartment

        24 complex was the Bayshore Yacht and Tennis Club.       Not only did

10:46   25 he make this in statements, but he had multiple phone calls
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         1 with CCI, because CCI called him before any college student

         2 traveled from Kazakhstan.    He told CCI, yes, they will be

         3 performing clerical work.    Yes, I actually have housing for

         4 them.    They're going to live above the yoga studio.     But you're

10:46    5 going to find out these are lies.

         6             You're going to see the Bayshore Yacht and Tennis

         7 Club.    You're going to see there is no yoga studio in this

         8 apartment complex.    You're going to hear from witnesses say

         9 there is no yoga studio in the Bayshore Yacht and Tennis Club.

10:46   10 But CCI doesn't know this.    They're located in Chicago, so

        11 they're relying on the defendant's word and taking him to be

        12 honest.

        13             Now, the judge earlier read the 11 counts that you

        14 will consider at the end of this trial.      They can really be

10:46   15 broken down into four categories.     The first category is wire

        16 fraud for the lies the defendant told CCI in order as part of

        17 his scheme to defraud and have students come in to work at his

        18 massage business.

        19             Eventually we will get to May 30th, 2011.     That's when

10:47   20          "A" and       "Z" traveled to Kazakhstan and got here to

        21 Miami.    You're going to hear that they were pretty tired

        22 because, again, it was a long international trip.       But being

        23 tired quickly became the least of their concerns because that

        24 was replaced by surprise, shock, disappointment, sadness, from

10:47   25 when they learned that the defendant expected them to perform
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         1 erotic massages.

         2             The second category of counts for you to consider will

         3 be what's called bringing in aliens for immoral or prostitution

         4 purposes.    You're going to see what the defendant's intent was

10:48    5 in bringing them in, because you're going to see Facebook

         6 exchanges in the days leading up to their arrival.       Facebook

         7 messages where the defendant tells various friends and clients,

         8 Hey, I'm hosting four working travel students this summer.         I'm

         9 going to be fully stocked.    Or telling other clients, I'm

10:48   10 bringing in working travel students, you should come by for a

        11 massage.

        12             Now, it's important to point out right now that you're

        13 not going to hear from Diyana, you're not going to hear from

        14       "A".    You're not going to hear from           "Z" or the

10:48   15 other college students that were supposed to work for the

        16 defendant that summer because they're back in Kazakhstan.

        17 Again, the Summer Work Travel program, the intent is having

        18 them temporarily enter and live here before they go back to

        19 their home countries and resume their lives.

10:48   20             So how are you going to know that         "A" and

        21 "Z" were surprised and shocked when they came into the country?

        22 First, again, you're going to have Facebook messages, Facebook

        23 messages from the defendant to Diyana the days after             "A"

        24 and          "Z" arrived.   He tells Diyana, Look, these first two

10:49   25 students, they're being difficult.     They're not being
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         1 cooperative.    I provide sensual massages for wealthy clients.

         2 They can make a lot of money this summer, but they need to

         3 cooperate.   And you're going to see Diyana response and her

         4 surprise to this revelation.

10:49    5          Second, you're going to hear from multiple women who

         6 worked in the defendant's prostitution business that summer,

         7 women who observed          "A" and         "Z".    And they're going

         8 to come and testify about the demeanor that they experienced

         9 when they saw         "A" and          "Z" and the sadness and the

10:49   10 depression that they saw.       And also, they're asking to try to

        11 find another place to live or another place to work.

        12          Third, you're also going to see job applications that

        13       "A" and         "Z" submitted.      One such job application

        14 was to Trio, which is a restaurant within walking distance of

10:50   15 the defendant's apartment complex.      This was submitted in the

        16 days after they arrived, and it shows their idea of trying to

        17 find some other employment other than providing erotic massages

        18 for the defendant.

        19          The third category of counts for you to consider is

10:50   20 sex trafficking by fraud.       And you'll find out that it's

        21 unlawful to use fraud to recruit, entice, or obtain individuals

        22 to perform commercial sex acts.       And whether       "A" and

        23        "Z" did or didn't later perform these erotic massages is

        24 irrelevant, because the use of the fraud alone is prescribed in

10:50   25 the sex trafficking statute.
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         1            Now, meanwhile, the first week in June, the other

         2 college students that were supposed to work for the defendant,

         3 they arrived in the U.S., but they do not go to work for the

         4 defendant.    And there will be some conversations with CCI that

10:51    5 will flush this out for you.     Because CCI gets a phone call

         6 from one of the relatives of these students who was supposed to

         7 come and work for the defendant, and they tell CCI, We have

         8 arrived, we're here in Florida, but we don't want to work for

         9 the defendant because we heard the job involves massages, but

10:51   10 we came to do receptionist duties.

        11            So naturally, CCI, they reach out.      They contact the

        12 defendant.    The defendant quite predictably lies.      He tells

        13 CCI, Yes, I do have a couple students already,             "A" and

        14        "Z".     They're doing fine.   They're working for me.

10:51   15 That's not a problem.    The massages?    No, they're not being

        16 asked to do massages.    Maybe my wife showed them some massage

        17 techniques, but that's unrelated to their job of performing

        18 clerical for my yoga studio.     And then the defendant goes even

        19 further.     He tells CCI that he feels defamed by these

10:52   20 allegations of people making up massage allegations about his

        21 business, and he feels really disadvantaged that these other

        22 students are not going to come and work for him this summer.

        23            Meanwhile, you'll also learn that           "A" and

        24 "Z" did perform acts of prostitution for the defendant in June

10:52   25 and in July of 2011.     They also were performing acts in August
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         1 2011.    But by this time, the defendant had come to the

         2 attention of local law enforcement.       They heard that the

         3 defendant is operating a prostitution business from this

         4 Bayshore Club apartment complex; that they heard the defendant

10:52    5 is doing so via Backpage.     Backpage, you'll learn, is an

         6 internet website that is used for classified ads.        And you're

         7 learn it's commonly used to post ads or asking for -- detailing

         8 sexual services that various women offer.

         9             It was through ads that were connected to the

10:53   10 defendant that law enforcement scheduled an undercover

        11 operation scheduling a date -- scheduling a prostitution date

        12 that ended up being          "A" and          "Z".   This was on

        13 August 4th, 2011.    But the defendant didn't know that it

        14 happened.    The defendant was in L.A. running his prostitution

10:53   15 business and, in fact,          "A" and          "Z" were supposed

        16 to travel the very next day on August 5th from Miami to L.A. to

        17 work for the defendant performing erotic massages there.

        18             But, again, the defendant doesn't know that they had

        19 been encountered by law enforcement, so he engages in a series

10:53   20 of messages via Facebook with           "A" and with           "Z".

        21 And you're going to see those messages in the course of this

        22 trial.    For example, you're going to see one message where the

        23 defendant mocks          "A" and tells her that, well, she's not a

        24 virgin anymore and wonder what her father would think about

10:54   25 that.
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         1             You're also going to hear a phone call that            "A"

         2 made to the defendant in September 2011, a phone call that was

         3 recorded by law enforcement because, again, the defendant

         4 doesn't know that they had been encountered by law enforcement.

10:54    5 You're going to hear that entire 35-minute phone call where

         6          "A" confronts him multiple times about lying to her about

         7 the receptionist trap.

         8             Now, you're going to learn the defendant went to such

         9 great lengths as to sponsor working travel students because

10:54   10 he's always recruiting for his prostitution business.         You're

        11 going to see hundreds of Backpage ads tied to the defendant

        12 where he's listing sexual services his women will provide or

        13 seeking to recruit women to work for his prostitution business.

        14 And, in fact, an undercover female agent called the defendant

10:55   15 pretending to be interested in working for his prostitution

        16 business.    You're going to hear that phone call, which was

        17 recorded.    And you're going to hear that phone call where the

        18 defendant said to the undercover agent, You can make $800 a day

        19 if you perform full service sex with my clients.        You're also

10:55   20 going to see text message that the defendant had with various

        21 women, text messages where he's scheduling and setting up

        22 prostitution dates for them.

        23             And the reason the defendant does this is to make

        24 money.    You're going to see thousands of dollars deposited --

10:55   25 thousands of dollars of cash deposited into bank accounts that
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         1 the defendant owns.

         2             And that brings us to the fourth and final category of

         3 counts for you to consider.     That's the defendant's use of

         4 interstate commerce such as the internet, such as cell phones

10:56    5 in order to operate his prostitution business.

         6             Now, finally, members of the jury, not only did the

         7 defendant lie to Diyana, lie to           "A" and          "Z", lie

         8 to CCI, lie to the government claiming to being Dr. Janardana

         9 Dasa, but he also lied to law enforcement.       Law enforcement

10:56   10 questioned the defendant twice in this case; once in September

        11 2015 and again in April 2016.     And they questioned the

        12 defendant and they used the ruse pretending they were looking

        13 for         "A" and        "Z" with the hope that maybe he would

        14 provide some truthful information.

10:56   15             In September 2015, the defendant told law enforcement

        16 that they didn't actually do secretarial work, instead he had

        17 them clean apartments.    They also installed antivirus on his

        18 computer.    He gave them some cash.    And he classified his

        19 relationship with         "A" and          "Z" as that of an older

10:56   20 brother.

        21             Now, in April of 2016, the defendant again maintained

        22 that he had secretarial work for these students to do, they

        23 just didn't want to do it.     And at the end of this interview,

        24 the topic of massages came up.      And this is where the timing

10:57   25 gets very interesting because that interview occurred on
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         1 April 30th, 2016.       Three days later, on May 3rd of 2016, the

         2 defendant books travel to Panama, books travel to Panama

         3 leaving two days later on May 5th, 2016.           But that's when he

         4 gets stopped by law enforcement and that brings us here to

10:57    5 today.

         6              Now, at the end of this case, ladies and gentlemen,

         7 the government is going to ask that you hold this two-faced

         8 fraud, this phony, this sex trafficker accountable for the lies

         9 and the deception that he used in this case.           These college

10:57   10 students came as part of a cultural exchange to see the promise

        11 of America.        Instead they were exposed to the very worst part

        12 of America; that is being exposed to a fraudster who will do

        13 anything to line his own pockets with money.           Thank you.

        14              THE COURT:     Defense.

10:58   15

        16 *        *     *        *        *     *       *   *    *      *       *

        17      (Thereupon, proceedings were held but not transcribed.)

        18 *        *     *        *        *     *       *   *    *      *       *

        19

        20     (Thereupon, the above portion of the trial was concluded.)

        21

        22                              *             *       *

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        1                            C E R T I F I C A T E

        2

        3               I hereby certify that the foregoing is an accurate

        4   transcription of the proceedings in the above-entitled

        5   matter.

        6

        7        11/03/2017

        8   ________________          ______________________________

        9     DATE COMPLETED          GIZELLA BAAN-PROULX, RPR, FCRR

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